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 January 19, 2018

  Via ECF
  Hon. Mark Falk, U.S.M.J.
  United States District Court
  District of New Jersey
  U.S. Post Office and Courthouse, Room 457
  1 Federal Square Newark, New Jersey 07102

                       Re: Cioffi v. Borough of Englewood Cliffs, et al.
                           Civil Action No. 2:16-cv-04536-WJM-MF

  Dear Magistrate Falk:

         This office along with the Galantucci, Patuto, DeVencentes, Potter & Doyle, LLC law
  firm represents the plaintiff Chief Michael Cioffi ("Plaintiff" or "Chief Cioffi") in connection
  with the above-referenced matter.

            Please find attached a proposed Discovery Confidentiality Order agreed to be all parties.

        Request is respectfully made that Your Honor consider the proposed Discovery
 Confidentiality Order and if same is acceptable execute same. Of course, if Your Honor has any
 issues with the form of the Order we stand ready to address and correct as required.

            Please contact me with any questions or comments.
                                                                           Respectfully Yours
                                                                           s/Richard Malagiere/
                                                                           Richard Malagiere


 Cc: Counsel of record via ECF
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Our File No. 85341 ELH
                       IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY



     MICHAEL CIOFFI,
                                                         CASE No: 2:16-cv-04536 (WJM) (MF)
                          Plaintiff,

 V.                                                                  Civil Action

 BOROUGH OF ENGLE WOOD CLIFFS,
 MARIO M. KRANJAC (In his Official and
 Individual Capacities), CARROL
 MCMORROW (In her Official and Individual
 Capacities), NUNZIO CONSALVO (In his                     DISCOVERY CONFIDENTIALITY
 Official and Individual Capacities), MARK                         ORDER
 PARK (In his Official and Individual
 Capacities),

                          Defendants.




         It appearing that discovery in the above-captioned action is likely to involve the disclosure

of confidential information, it is ORDERED as follows:

1.       Any party to this litigation and any third-party shall have the right to designate as

"Confidential" and subject to this Order any information, document, or thing, or portion of any

document or thing: (a) that contains private or confidential personal information pertaining to any

of the named defendants or any person or individual employed by any named defendant, including
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but not limited to personnel files maintained by the Borough of Englewood Cliffs and/or its Police

Department; (b) that contains information received in confidence from third parties; (c) that

contains medical documentation, including all consultation, evaluations and treatment records for

all named individual defendants and any non-party individuals; (d) Internal Affairs files and

personnel files maintained by the Borough of Englewood Cliffs and/or its Police Department

including but not limited to all documents related to any investigations, charges, hearings,

proceedings, rulings/decisions, penalties and/or remedies, or (e) which the producing party or

receiving party otherwise believes in good faith to be entitled to protection under Federal Rules of

Civil Procedure, NJ Attorney General Guidelines or any other federal or state statute, regulation

or law. Any party to this litigation or any third party covered by this Order, who produces or

discloses any Confidential material, including without limitation any information, document,

thing, interrogatory answer, admission, pleading, or testimony, shall mark the same with the

foregoing or similar legend: "CONFIDENTIAL" or -CONFIDENTIAL - SUBJECT TO

DISCOVERY CONFIDENTIALITY ORDER" (hereinafter referred to as -Confidential" or

"Confidential material").


2.     Any party to this litigation and any third-party shall have the right to designate as "Attorneys'

Eyes Only" and subject to this Order any information, document, or thing, or portion of any

document or thing that contains highly sensitive business or personal information, the disclosure

of which is highly likely to cause significant harm to an individual or to the business or

competitive position of the designating party. Any party to this litigation or any third party who

is covered by this Order, who produces or discloses any Attorneys' Eyes Only material, including

without limitation any information, document, thing, intenogatory answer, admission, pleading, or

testimony, shall mark the same with the foregoing or similar legend: "Al I ORNEYS EYES

ONLY" or "Al I ORNEYS' EYES ONLY — SUBJECT TO DISCOVERY

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CONFIDENTIALITY ORDER" (hereinafter "Attorneys Eyes Only").

3.      All Confidential material shall be used by the producing and receiving party for purposes

of the prosecution or defense of this action, shall not be used by the receiving party for any

business, commercial, competitive, personal or other purpose, and shall not be disclosed by the

receiving party to anyone other than those set forth in Paragraph 4, unless and until the restrictions

herein are removed either by written agreement of counsel for the parties, or by Order of the Court.

It is, however, understood that counsel for a party may give advice and opinions to his or her client

solely relating to the above-captioned action based on his or her evaluation of Confidential

material, provided that such advice and opinions shall not reveal the content of such Confidential

material except by prior written agreement of counsel for the parties, or by Order of the Court.

4.      Confidential material and the contents of Confidential material may be disclosed only to

the following individuals under the following conditions:

           a. Attorneys of record in this Action, and, if the attorney of record is a member of a
              law firm, the employees and staff of the law firm shall not be required to sign the
              "Agreement to Be Bound by Discovery Confidentiality Order" appended hereto as
              Exhibit A. However, the attorneys of record in the Action are responsible to
              supervise and ensure compliance with this Discovery Confidentiality Order.

           b. Personal counsel to Defendant Carrol McMorrow, Steven A. Varano and Joseph
              Slawinski, at the Law Offices of Steven A. Varano, P.C., 96 Newark Pompton
              Turnpike, Little Falls, N.J. 07424, who shall sign the -Agreement to be Bound by
              Discovery Confidentiality Order" appended hereto as Exhibit A, and the employees
              and staff of the law firm,.

           c. Parties to the Action;

           d. Persons retained by the attorneys of record to provide litigation support services in
              this action. Before any such person is permitted access to any of the Confidential
              material, such person shall be informed of the existence and contents of this
              Discovery Confidentiality Order and shall sign the "Agreement to Be Bound by
              Discovery Confidentiality Order" appended hereto as Exhibit A. The attorney or
              law firm hiring such individual or company is responsible for compliance by that
              individual or company with this Discovery Confidentiality Order.

          e. The insurer of a party to litigation and employees of such insurer to the extent
             reasonably necessary to assist the party's counsel to afford the insurer an
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                   opportunity to investigate and evaluate the claim for purposes of determining
                   coverage and for settlement purposes;

              f. Experts and consultants (whether or not designated to testify) retained in this action
                 by the attorneys of record, insofar as the attorneys of record may deem it necessary
                 for the preparation or trial of this case to consult with such experts or consultants.

              g. Court reporters (and stenographers utilized during discovery), the Court and its
                 employees and officers including, but not limited to, jurors einpaneled in the trial
                 of this case and any appellate court considering an appeal from this case.

              h. Any other employees for each party, solely for purposes of the action, so long as
                 such individual[s] to whom disclosure is made pursuant to order of court or by
                 stipulation of the Parties shall, prior to receiving such disclosure, be furnished with
                 a copy of this Discovery Confidentiality Order and shall execute the -Agreement
                 to Be Bound by Discovery Confidentiality Order" appended hereto as Exhibit A.

              i.   Witnesses providing testimony at trial, but only at the time of such testimony and
                   only as relevant and necessary to such testimony;

                   Party and non-party witnesses being deposed, but only to the extent that such
                   Confidential material is necessary and relevant to said deposition, and provided that
                   in the case of a deponent who is not also a Party, such deponent has signed the
                   -Agreement to Be Bound by Discovery Confidentiality Order" appended hereto as
                   Exhibit A, prior to receiving any Confidential material.

              k. Any other individual that the producing party agrees in writing is a Qualified Person
                  (which agreement shall not be unreasonably withheld); provided that, no
                  Confidential material may be provided or disclosed to any such individual unless
                  the individual has been provided with a copy of this Discovery Confidentiality
                  Order and has first executed the "Agreement to Be Bound by Discovery
                  Confidentiality Order" appended hereto as Exhibit A.

5.      Confidential material shall be used only by individuals permitted access to it under

Paragraph 4. Confidential material, copies thereof, and the information contained therein, shall not

be disclosed in any manner to any other individual, until and unless (a) the attorney of record for

the party asserting confidentiality waives the claim of confidentiality, or (b) the Court orders such

disclosure.

6.      With respect to any depositions that involve a disclosure of Confidential or Attorney's Eyes

Only material of a party to this action, such party shall have until thirty (30) days after receipt of

the deposition transcript within which to inform all other parties that portions of the transcript are

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to be designated Confidential or Attorney's Eyes Only, which period may be extended by

agreement of the parties. No such deposition transcript shall be disclosed to any individual other

than the individuals described in Paragraph 3(a), (b), (c), (d), (e), (f) and (g) above and the deponent

during these thirty (30) days, and no individual attending such a deposition shall disclose the

contents of the deposition to any individual other than those described in Paragraph 3(a), (b), (c),

(d), (e),(f), and (g) above during said thirty (30) days. Upon being informed that certain portions

of a deposition are to be designated as Confidential or Attorney's Eyes Only, all parties shall

immediately cause each copy of the transcript in its custody or control to be appropriately marked

and limit disclosure of that transcript in accordance with Paragraphs 3.

7.      Material produced and marked as Attorneys' Eyes Only may be disclosed only to

attorneys listed under paragraphs 4(a) and 4(b) for the receiving party and to such other persons

as counsel for the producing party agrees in advance or as Ordered by the Court.

8.     If counsel for a party receiving documents or information designated as Confidential or

Attorney's Eyes Only hereunder objects to such designation of any or all of such items, the

following procedure shall apply:

           a. Counsel for the objecting party shall serve on the designating party or third party a
              written objection to such designation, which shall describe with particularity the
              documents or information in question and shall state the grounds for the objection.
              Counsel for the designating party or third party shall respond in writing to such
              objection within 14 days, and shall state with particularity the grounds for asserting
              that the document or information is Confidential or Attorney's Eyes Only. If no
              timely written response is made to the objection, the challenged designation will be
              deemed to be void. If the designating party or nonparty makes a timely response to
              such objecting asserting the propriety of the designation, counsel shall then confer
              in good faith in an effort to resolve the dispute.

           b. If a dispute as to a Confidential or Attorney's Eyes Only designation of a document
              or item of information cannot be resolved by agreement, the proponent of the
              designation being challenged shall present the dispute to the Court initially by
              telephone or letter, in accordance with Federal Rules of Civil Procedure, before
              filing a formal motion for an order regarding the challenged designation. The
              document or information that is the subject of the filing shall be treated as originally
              designated pending resolution of the dispute.
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9.      All requests to seal documents filed with the Court shall comply with the Federal Rules of

Civil Procedure.

10.     If the need arises during trial or at any Hearing before the Court for any party to disclose

Confidential or Attorney's Eyes Only information, it may do so only after giving notice to the

producing party and as directed by the Court.

11.     To the extent consistent with applicable law, the inadvertent or unintentional disclosure of

Confidential or Attorney's Eyes Only material that should have been designated as such, regardless

of whether the information, document or thing was so designated at the time of disclosure, shall

not be deemed a waiver in whole or in part of a party's claim of confidentiality, either as to the

specific information, document or thing disclosed or as to any other material or information

concerning the same or related subject matter. Such inadvertent or unintentional disclosure may

be rectified by notifying in writing counsel for all parties to whom the material was disclosed that

the material should have been designated Confidential or Attorney's Eyes Only within a reasonable

time after disclosure. Such notice shall constitute a designation of the information, document or

thing as Confidential under this Discovery Confidentiality Order.

12.     When the inadvertent or mistaken disclosure of any information, document or thing

protected by privilege or work-product immunity is discovered by the producing party and brought

to the attention of the receiving party, the receiving party's treatment of such material shall be in

accordance with the Federal Rules of Court and Rules for Professional Conduct. Such inadvertent

or mistaken disclosure of such information, document or thing shall not by itself constitute a waiver

by the producing party of any claims of privilege or work-product immunity. However, nothing

herein restricts the right of the receiving party to challenge the producing party's claim of privilege




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 if appropriate within a reasonable time after receiving notice of the inadvertent or mistaken

disclosure.

13.     No information that is in the public domain or which is already known by the receiving

party through proper means or which is or becomes available to a party from a source other than

the party asserting confidentiality, rightfully in possession of such information on a non-

confidential basis, shall be deemed or considered to be Confidential or Attorney's Eyes Only

material under this Discovery Confidentiality Order.

14.     This Discovery Confidentiality Order shall not deprive any party of its right to object to

discovery by any other party or on any otherwise permitted ground. This Discovery Confidentiality

Order is being entered without prejudice to the right of any party to move the Court for

modification or for relief from any of its terms.

15.     This Discovery Confidentiality Order shall survive the termination of this action and shall

remain in full force and effect unless modified by an Order of this Court or by the written

stipulation of the parties filed with the Court.

16.     Upon final conclusion of this litigation, each party or other individual subject to the terms

hereof shall be under an obligation to assemble and to return to the originating source all originals

and unmarked copies of documents and things containing Confidential or Attorney's Eyes Only

material and to destroy, should such source so request, all copies of Confidential or Attorney's

Eyes Only material that contain and/or constitute attorney work product as well as excerpts,

summaries and digests revealing Confidential or Attorney's Eyes Only material; provided,

however, that counsel may retain complete copies of all transcripts and pleadings including any

exhibits attached thereto for archival purposes, subject to the provisions of this Discovery

Confidentiality Order. To the extent a party requests the return of Confidential or Attorney's Eyes

Only material from the Court after the final conclusion of the litigation, including the exhaustion

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of all appeals therefrom and all related proceedings, the party shall file a motion seeking such

relief

17.      In the event any person institutes an action for breach of this Discovery Confidentiality

Order, such individual may seek monetary damages, injunctive and/or equitable relief as the Court

deems appropriate. In addition, any person who successfully obtains a judgment against any other

person for breach of this Discovery Confidentiality Order shall be entitled to recover reasonable

attorney's fees and costs, in addition to any monetary damages, injunctive and/or equitable relief

that maybe awarded by the Court.

IT IS SO ORDERED.


Dated:
                                                     Honorable Mark Falk, U.S.M.J.




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  We hereby consent to the entry of the foregoing Order.

  Domenick Carmagnola, Esq.
  Carmagnola & Ritardi, LLC
  60 Washington St.
  Morristown, N.J. 07060
  Attorney for Defendants Borough of Englewood Cliffs,
  Nunzio Consalvo and Mark Park



  BY:
         Domenick Mrmagnola, Esq.




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  We hereby consent to the entry of the foregoing Order.


  Eric Harrison, Esq.
  METHFESSEL & WERBEL
  2025 Lincoln Highway
  Suite 200
  Edison, N.J. 08818
  Attorney for Defendant Carrol McMorrow



  BY:
         Eric L. Harrison, Esq.




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     We hereby consent to the entry of the foregoing Order.

    Joseph Tripodi, Esq.
    Kranjac Tripodi & Partners LLP
    30 Wall Street, 12th Floor
    New York, New York 10005
    Attorneys for defendant Mario M. Kranjac,
    in his official and individual capacity



    BY:
            Jo              E




                                                   13
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    We hereby consent to the entry of the foregoing Order.

    James P. Patuto, Esq.
    Galantucci & Patuto
    55 State Street
    Hackensack, NJ 07601
    Attorneys for Plaintiff Michael Cioffi



    BY:
           James 'P. Patuto, Esq.
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  We hereby consent to the entry of the foregoing Order.

  Richard Malagiere, Esq.
  Law Offices of Richard Malagiere, P.C.
  250 Moonachie Road, Suite 102
  Moonachie, NJ 07074
  Attorneys for Plaintiff Michael Cioffi



  BY:
         Richard Malagi re, Esq.




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                       IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

                                          EXHIBIT A




  MICHAEL CIOFFI,
                                                      CASE No: 2:16-cv-04536 (WJM) (MF)
                        Plaintiff,

  V.
                                                                  Civil Action

  BOROUGH OF ENGLE WOOD CLIFFS,
  MARIO M. KRANJAC (In his Official and
  Individual Capacities), CARROL
  MCMORROW (In her Official and Individual
  Capacities), NUNZIO CONSALVO (In his                 Agreement to be Bound by Discovery
  Official and Individual Capacities), MARK                  Confidentiality Order
  PARK (In his Official and Individual
  Capacities),

                        Defendants.




                                        , being duly sworn, state that:

 I. My address is

2. My present employer is                                       and the address of my present
employment is

3. My present occupation or job description is

4. I have carefully read and understood the provisions of the Discovery Confidentiality Order in
this case signed by the Court, and I will comply with all provisions of the Discovery
Confidentiality Order.




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 5. I will hold in confidence and not disclose to anyone not qualified under the Discovery
 Confidentiality Order any Confidential Material or any words, summaries, abstracts, or indices of
 Confidential Information disclosed to me.

 6. Twill limit use of Confidential Material disclosed to me solely for purpose of this action.

 7. No later than the final conclusion of the case, I will return all Confidential Material and
 summaries, abstracts, and indices thereof which come into my possession, and documents or things
 which I have prepared relating thereto, to counsel for the party for whom I was employed or
 retained.


 I declare under penalty of perjury that the foregoing is true and correct




       Date




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